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                            LINITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  LUBBOCKDIVISION

 UNITED STATES OF AMERICA,
    Plaintiff,

                                                           NO. 5:19-CR-100-04-H

 MELISSAMACKEY (4),
    Defendant.


                 ORDER ACCEPTING REPORT AND RECOMMENDAIION
                    OF TIIEIJNITED STATES MAGISTRATE JIJDGE
                           CONCERNING PLEA OF GTJILTY

        After reviewing all relevant matters of record, including the Notice Regarding Entry

 of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

 Conceming Plea of Guilty of the United States Magistrate Judge, and no objections thereto

 having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

 $ 636OX1), the undersigred District Judge is of the opinion that the Report and

 Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

 hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

 Defendant is hereby adjudged guilty.

        Sentence will be imposed in accordance with the Court's scheduling order.

        SO ORDERED.

        Dated Novemb        13 , zots.
                       ",


                                           JAMES        SLEY HE   RIX
                                                      STATES DISTRICT JUDGE
